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                 IN THE UNITED STATES DISTRICT COURT FOR

                       THE DISTRICT OF MASSACHUSETTS

NUANCE COMMUNICATIONS, INC.,

              Plaintiff and Counterclaim   Case No. 1:19-cv-11438-PBS
              Defendant,

   v.

OMILIA NATURAL LANGUAGE
SOLUTIONS, LTD.,

             Defendant and Counterclaim
             Plaintiff.


  NUANCE COMMUNICATIONS, INC.’S MOTION FOR LEAVE TO AMEND ITS
                 INFRINGEMENT CONTENTIONS
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       Pursuant to Local Rule 16.6(d)(5), Plaintiff and Counterclaim Defendant Nuance

Communications, Inc. (“Nuance”) respectfully moves this Court for leave to amend its December

6, 2019 Preliminary Infringement Contentions consistent with Exhibit 1 attached to the Declaration

of Carrie Richey, filed concurrently herewith (referred to herein as “Nuance’s Supplemental

Infringement Contentions”). Exhibit 1 incorporates three groups of changes to the December 6,

2019 Preliminary Infringement Contentions:

               (1) Nuance’s Response to Omilia’s Supplemental Non-Infringement and

       Invalidity Contentions Pursuant to Local Rule 16.6(d)(5) (herein referred to as

       “Responsive Contentions”), served on Omilia pursuant to the last sentence of Local

       Rule 16.6(d)(5) on July 7, 2020 (See Exh. 1 at Exh. C);

               (2) Nuance’s Response to Interrogatory No. 9, served on August 24, 2020

       following a partial review of Omilia’s source code and related technical documents,

       and

               (3) a limited number of further amendments, reflecting Nuance’s review of

       source code and related technical documents after the service of Nuance’s Response

       to Interrogatory No. 9.

To the extent leave of court is required for these changes, good cause exists.

I.     INTRODUCTION

       By this motion, Nuance seeks leave to provide a comprehensive supplementation of its

Local Rule 16.6 Contentions. Nuance has worked diligently to obtain the necessary information

to supplement its Local Rule 16.6 Contentions since discovery opened in this matter in October

2019, and has taken multiple opportunities to keep Omilia apprised with updated details of

Nuance’s contentions. Omilia, on the other hand, has simultaneously withheld discoverable

information needed to supplement Nuance’s contentions and complained repeatedly that Nuance

had not yet made a formal supplementation to its Local Rule 16.6 Contentions. In response to

each such complaint, Nuance informed Omilia that it intends to supplement its Local Rule 16.6



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Contentions once it has completed the necessary source code review. See Local Rule 16.6(d)(5)

(including as an example of circumstances that support a finding of good cause: “discovery of

nonpublic information about the asserted infringement that was not discovered or located, despite

diligent efforts, before the service of the infringement claim charts”).

       There would have been no practical benefit to either party by burdening the Court with a

piecemeal approach to this supplementation, with multiple interim motions for leave to amend.

Despite Omilia’s obstruction and delays, Nuance has endeavored to keep Omilia on notice of its

infringement positions via a timely supplement to its Local Rule 16.6 Contentions served as a

matter of right on July 7, 2020 under the last sentence of Local Rule 16.6(d)(5), in response to

Omilia’s June 9, 2020 supplemental non-infringement and invalidity contentions, as well as

Nuance’s August 24, 2020 response to Interrogatory No. 9. Nuance’s Supplemental Infringement

Contentions are substantially similar to the infringement claim charts included in Nuance’s

response to Interrogatory No. 9, based on Omilia’s then-available source code, and also

incorporate Nuance’s Responsive Contentions dated July 7, 2020.

       Despite Nuance’s efforts to be transparent and keep Omilia on notice of the current status

of its contentions, Omilia has attempted to falsely manufacture a record suggesting Nuance has

unnecessarily delayed in formally amending its contentions to reflect the information taken from

Omilia’s source code. However, Omilia has no one but itself to blame for any delay. Nuance’s

source code review been repeatedly impeded and slowed by Omilia’s failure to make the source

code available during the early stages of the COVID-19 pandemic and then later by Omilia’s

failure to make a fulsome source code production, thereby forcing Nuance to seek judicial

intervention via a motion to compel. See Dkt. 103. Even after the hearing on the motion to compel,

at which Omilia made a number of representations on the record committing to supplement its

source code production, Omilia still delayed and failed to provide the full scope of information it

had promised. See Dkt. 204-2 at 3-4; Dkt. 204-3. Omilia’s most recent source code production,

which appears to finally substantially resolve these issues, was made on October 7, 2020. See Dkt.

204-1 at 1.


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       Now that Nuance has finally been permitted to substantially complete its inspection of

Omilia’s source code production, Nuance seeks the Court’s permission to amend its Preliminary

Infringement Contentions. Nuance’s Supplemental Contentions seek to provide source code

support for its initial infringement theories, and provide further annotation for those theories based

on the source code review. Good cause, therefore, exists for such amendment and Omilia cannot

not show undue prejudice particularly given its prior and regularly-updated notice of Nuance’s

infringement positions and its own obstructionist tactics. Moreover, fact and expert discovery is

ongoing through 2021, and trial is set for April 2022.

II.    RELEVANT FACTS

       A.      After Withholding Discovery of Its Source Code Repository for Nearly a
               Year, Omilia Completed Substantial Production of Its Source Code on
               October 7, 2020.

       In an effort to streamline discovery, and as permitted under the Rules of Federal Procedure,

on October 9, 2019, Nuance served document requests on Omilia, requesting source code and other

technical documents, but Omilia refused and objected until such time as required under the Local

Rule 16.6 or other Court Order. Dkt. 107-1 (Omilia’s Responses to Nuances First Set of RFPs

dated Dec. 2, 2019). On December 6, 2019, Nuance timely served its Preliminary Infringement

Contentions on the Phase 1 patents asserted in this litigation. Dkt. 204-4. On January 17, 2020,

Omilia made some of its source code available for inspection. In January and February, Nuance

reviewed the source code Omilia had made available. Dkt. 103 at 3.

       After an initial review, it became apparent that Omilia was withholding relevant source

code. Moreover, rather than producing the source code in the way Omilia maintains it in the

normal course of business, Omilia selectively created folders and dropped source code into those

folders, obscuring and frustrating Nuance’s source code review. See Dkt. 103 (redacted version).

       Nuance promptly began working to obtain the missing source code and to secure

production in a format permitted by the Federal Rules. On March 11, 2020, Nuance provided

Omilia with a specific list of source code Nuance believed Omilia had not made available. Dkt.



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103 at 4-5. The parties met and conferred several times and Omilia agreed to make the requested

source code available, but never did.

       Due to the emergence of the COVID-19 pandemic in March 2020, locations around the

country, including the New York location of Omilia’s source code inspection, were subjected to

varying degrees of lockdown. In view of this COVID-19 related lockdown, on March 25, 2020,

Nuance wrote Omilia and outlined two proposed source code review procedures that would allow

source code review to continue despite the pandemic. Dkt. 103 at 5. For the next several months,

the parties continued to discuss the collection of additional source code and several ways to safely

conduct the source code review. Dkt. 103 at 5-6. However, in May 2020, Omilia unexpectedly

wrote Nuance, rejecting any attempt to conduct source code review during COVID-19 until the

review procedures of the Protective Order could be strictly adhered to, thereby indefinitely

blocking all access to Omilia’s previously produced source code and any additional source code

not yet produced. Id.

       On June 10, 2020, Nuance moved to compel production of source code. See Dkt. 103. On

June 29, 2020, two days before the hearing on Nuance’s Motion to Compel, Omilia made its source

code available again in Boston, including a piecemeal production of certain requested items. See

Jun. 23, 2020 Email from R. Gandesha to Nuance Counsel (Exh. 2). At the July 1, 2020 Motion

to Compel hearing before Judge Bowler, the Court ordered the parties to meet and confer on the

outstanding issues raised in Nuance’s motion given Omilia’s last-minute concessions at the

hearing. The Court set a follow-up hearing for July 16, 2020.

       In complying with the parties’ representations to the Court to continue to meet and confer,

on July 2, 2020, Nuance summarized the categories of source code and technical documents

covered by Nuance’s motion that remained outstanding. See Jul. 2, 2020 Letter from C. Mammen

to R. Gandesha (Exh. 3). Omilia failed to respond for a week. See Jul. 9, 2020 Letter from C.

Mammen to R. Gandesha (Exh. 4). When Omilia did respond, Omilia made clear the parties had

not reached agreement over a number of topics. See Jul. 15, 2020 Letter from C. Mammen to R.

Gandesha (Exh. 5). Specifically, Nuance continued to request that Omilia make its source code


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available for inspection the way it is maintained in the normal course of business, and make its

other technical repositories available for inspection, such as        . 1 Id.

       At the follow-on July 16, 2020 Motion to Compel hearing before Judge Bowler, Omilia

made a number of representations on the record committing to supplement its source code

production, but Omilia still delayed and failed to provide the full scope of information it had

promised. See Jul. 24, 2020 Letter from C. Mammen to R. Gandesha (Exh. 6); see also Jul. 29,

2020 Letter from C. Mammen to R. Gandesha (Exh. 7). Also at the July 16, 2020 hearing, Omilia

represented to the Court that within 30 days, or by August 15, 2020, it would produce additional

source code and technical documents. See Jul. 24, 2020 Letter from C. Mammen to R. Gandesha

(Exh. 6). Again, Omilia made a piecemeal production, falling short of complying with its own

representations. See Sept. 2, 2020 Letter from C. Mammen to R. Gandesha (Exh. 8). Among other

things, Omilia did not produce its        repository and continued to use self-serving folder names

for its source code without making its repository available. Id. Omilia did not respond to the

issues Nuance raised for two weeks. See Sept. 16, 2020 Letter from R. Gandesha to C. Mammen

(Exh. 9). Without any progress, the parties continued to exchange letters regarding Omilia’s

deficient source code production. See Sept. 23, 2020 Letter from C. Mammen to R. Gandesha

(Exh. 10); Sept. 25, 2020 Letter from R. Gandesha to C. Mammen (Exh. 11).

       Finally, on October 1, 2020, for the first time, Omilia confirmed that it would make its

source code repository available for inspection, and agreed to make             available for inspection

during limited hours each day, from 2:00-5:30 p.m., under certain guidelines. See Oct. 1, 2020

Email from H. Kiernan to Nuance Counsel (Exh. 12). Omilia made the repositories available on

October 7, 2020. See Dkt. 204-1 at 1. In October and November, Nuance reviewed the source

code Omilia had made available.



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         is a web-based user interface for viewing Omilia’s source code and is also used for
organizing and developing Omilia’s source code. Through this interface, developers can view
successive builds of Omilia’s source code and commit messages (i.e., notes from the developer
summarizing changes to the source code).


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       B.      Nuance Served Responsive Contentions to Omilia’s Supplemental Non-
               Infringement Contentions.

       On January 17, 2020, Omilia served its Preliminary Non-Infringement and Invalidity

Contentions.    In May 2020, Omilia moved under Local Rule 16.6(d)(5) to supplement its

contentions and Nuance did not oppose. Dkt. 95. The Court granted Omilia’s motion (Dkt. 99),

and Omilia served its updated contentions on June 9, 2020. Dkt. 204-6. Therein for the first time,

Omilia claimed, among other things, that conduct Nuance accuses of infringing occurred outside

of the United States. Id. Omilia argued that because such conduct is accused of performing the

claimed steps of the asserted method claims of the ’925 patent and the ’993 patent, Omilia does

not infringe the asserted method claims under § 271(a) because steps of the claimed methods occur

outside of the United States.

       Pursuant to Local Rule 16.6(d)(5), on July 7, 2020, Nuance served responsive amended

disclosures, responding to Omilia’s amended contentions. See Local Rule 16.6(d)(5) (“If one party

is allowed to amend its disclosures, the opposing party may, within 28 days after serve of the

amended disclosure, serve responsive amended disclosures.”). Importantly, in those responsive

contentions, Nuance explained that

       under 35 U.S.C. §271(g), a party that imports, offers to sell, sells, or uses a product
       into the U.S. that is made abroad by a process patented in the U.S. is still liable for
       infringement. Omilia’s contentions that various steps in its process are performed
       outside the U.S. does not absolve it from liability for selling a product in the U.S.
       that was made by a patented U.S. process, as explained below in more detail.
       Pursuant to L.R. 16.6(d)(1)(A)(vi), Nuance asserts that 35 U.S.C. §§ 271(a) and
       (g) apply.

Exh. 1 (Attached to Nuance’s Supplemental Contentions as Ex. C); see also id. at 12-14; 19-20;

see also 35 U.S.C. §271(g) (“[w]hoever without authority imports into the United States or offers

to sell, sells, or uses within the United States a product which is made by a process patented in the

United States shall be liable as an infringer.”).

       Despite Local Rule 16.6 allowing for service of responsive contentions, Omilia responded

by letter alleging that Nuance’s Responsive Contentions are improper, and denying that § 271(g)



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is part of this case. See Jul. 15, 2020 Letter from R. Gandesha to C. Dupriest (Exh. 13). Nuance

responded to Omilia’s attempt to manufacture a false record, reiterating that the Responsive

Contentions are in full compliance with the Local Rules, and that Nuance will seek leave of Court

to supplement its infringement contentions after Omilia has provided a complete and proper

production of its technical documents. See Jul. 21, 2020 Letter from C. Mammen to R. Gandesha

(Exh. 14); see also Sept. 3, 2020 Letter from C. Mammen to R. Gandesha (Exh. 16).

         C.      Despite Omilia’s Failure to Produce Its Source Code, Nuance Disclosed Its
                 Updated Infringement Theories on August 24, 2020 Citing Source Code
                 Currently Available.

         Seeking to force Nuance to supplement its contentions despite the ongoing and incomplete

source code review, on July 15, 2020, Omilia served Interrogatory No. 9, requesting claim charts

setting forth Nuance’s infringement contentions. On August 24, 2020, Nuance responded to

Interrogatory No. 9 by the deadline for it to do so. Dkt. 204-2.2 Because Omilia had only recently

made additional source code available in August 2020, Nuance served detailed claim charts

spanning 59 total pages based on the source code it had reviewed at that time. In its response,

Nuance reserved the right to supplement its response because “Omilia’s source code and technical

document production remain outstanding, such as production of Omilia’s

                  related interrogatory responses, and other requests for production regarding

Omilia’s use of ASR technology post-termination of the parties’ 2011 Partnership Agreement.”

Dkt. 204-2 at 3-4 (Nuance’s Response to Interrogatory No. 9). Nuance’s Response to Interrogatory

No. 9 also included the assertions regarding Section 271(g) that were previously disclosed in its

Responsive Contentions. Id. Omilia has never corresponded with Nuance to suggest it believes

there are any deficiencies in Nuance’s response to Interrogatory No. 9. Moreover, Nuance

specifically informed Omilia that it would be seeking to amend its infringement contentions once




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    With a one-week extension agreed by the parties.


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Omilia’s source code production was complete, and in the interim, directed its Response to

Interrogatory No. 9. See Sept. 3, 2020 from C. Mammen to R. Gandesha (Exh. 16).

III.   LEGAL STANDARD

       Local Rule 16.6 allows a party to amend and supplement its preliminary infringement

contentions “only by leave of court upon a timely showing of good cause.” L.R. 16.6(d)(5). Local

Rule 16.6 enumerates specific circumstances that support a finding of good cause absent undue

prejudice to the nonmoving party. Id. at 16.6(d)(5)(C). One such circumstance is the “discovery

of nonpublic information about the asserted infringement,” such as source code “that was not

discovered or located, despite diligent efforts, before the service of the infringement claim charts.”

Id. Neither Local Rule 16.6 nor the Scheduling Order in this matter provide a deadline for

amending contentions. When moving to amend without violating a scheduling order deadline,

Courts in this district consider (1) the moving party’s diligence and (2) any potential prejudice to

the non-moving party and to the efficient resolution of the litigation. See, e.g., Abiomed, Inc. v.

Maquet Cardiovascular LLC, No. CV 16-10914-FDS, 2020 WL 3868803, at *3 (D. Mass. July 9,

2020) (in reliance on Northern District of California’s good cause standard, applying two-factored

good cause standard where party sought to amend without violating scheduling order). Moreover,

“even if the movant was arguably not diligent, the court retains discretion to grant leave to amend.”

Kajeet, Inc. v. Qustodio, LLC, No. SACV1801519JAKPLAX, 2019 WL 8060822, at *3 (C.D. Cal.

Nov. 1, 2019) (citing cases) (e.g., lack of prejudice is sufficient to grant leave to amend).

IV.    GOOD CAUSE EXISTS TO                           AMEND      NUANCE’S          PRELIMINARY
       INFRINGEMENT CONTENTIONS

       Nuance’s motion to amend is predicated on Omilia’s production of publicly unavailable

source code—a circumstance under Rule 16.6 that supports a finding of good cause absent undue

prejudice. Good cause to amend clearly exists.




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       A.      Nuance Has Diligently Moved to Amend Contentions Following Omilia’s
               Production of Previously Unavailable Source Code.

       As discussed in detail above, Nuance has been diligently working to complete its review

of Omilia’s source code since January 2020 so it could amend its Preliminary Infringement

Contentions pursuant to Local Rule 16.6(d)(5)(C). Ever since Nuance reviewed the first

installment of source code Omilia initially produced in January 2020 under Local Rule

16.6(d)(1)(A), Nuance has been embroiled in discovery disputes with Omilia over the availability

and sufficiency of its source code production. See Section II.A, supra. See Facebook, Inc. v.

BlackBerry Ltd., No. 18-CV0-5434-JSW (JSC), 2019 WL 8013872, at *3-8 (N.D. Cal. Sept. 17,

2019) (finding diligence, where plaintiff moved to supplement contentions after numerous

productions of source code).3 Appendix I attached to this Motion identifies key dates concerning

Omilia’s source code production.4

       When Nuance first raised issues with Omilia’s source code production at the beginning of

March 2020, the COVID pandemic had begun to take hold, preventing Nuance from further

reviewing the source code in New York under the strict requirements of the Protective Order.

Despite Nuance’s several attempts to propose alternative review procedures, Omilia refused to

make any source code available for months, until the end of June 2020, on the eve of Nuance’s

Motion to Compel hearing. Exh. 2. Even after the hearing on the Motion to Compel, Omilia still

delayed and made numerous piecemeal productions over several months—e.g., June 29, 2020;

August 17, 2020; and October 7, 2020. See Exs. 2, 8, 12. Each time Nuance reviewed the source

code, it identified the remaining deficiencies in Omilia’s production. See Dkt. 103; see also Exhs.

3-8, 10-11. Moreover, Nuance informed Omilia that it would supplement its Preliminary


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 As envisioned by this District’s Local Rule, courts typically grant leave to amend infringement
contentions after a patentee has been given the opportunity to inspect relevant source code. See
Linex Techs., Inc. v. Hewlett-Packard Co., No. C 13-159 CW, 2013 WL 5955548, at *2 (N.D. Cal.
Nov. 6, 2013) (moving to amend contentions after reviewing two sets of source code and serving
contentions on defendant).
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  The rows of the table in the Appendix that are shaded correspond to Omilia’s source code
production dates.


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Infringement Contentions upon Omilia’s completion of its source code production. See Facebook,

2019 WL 8013872, at *3 (allowing amendments where plaintiff informed defendant that it would

“supplement its contentions within a reasonable time period after [defendant] completes its

supplementation of technical document production and source code.”) see also June 18, 2020

Letter from C. Mammen to R. Gandesha, at 2 (Exh. 15); Jul. 21, 2020 Letter from C. Mammen to

R. Gandesha (Exh. 14); Sept. 3, 2020 Letter from C. Mammen to R. Gandesha (Dkt. Exh. 16);

Nov. 13, 2020 Email from Nuance’s Counsel (Dkt. 204-1). Despite this ongoing dispute, on

August 24, 2020, Nuance answered Omilia’s contention interrogatory with 59 pages of claim

charts that provided citations to Omilia’s source code. Dkt. 204-2. Not until October 7, 2020 did

Omilia substantially fulfill its obligation in making its source code repository and      available

for inspection. Exh. 12. Because it is clearly nonpublic, Nuance could not have obtained Omilia’s

source code repository and          any sooner than it did. Nuance has diligently sought to update

its August 24, 2020 claim charts based on its review of Omilia’s October 7, 2020 source code

production, and promptly filed this Motion.

       Omilia apparently believes Nuance should have repeatedly sought leave of court to amend

its contentions as a result of Omilia’s piecemeal production of its source code. Nuance does not

see the utility in burdening the Court with serial motions for leave to amend and claim charts,

resulting in co-pending motions to amend, while the parties are in an ongoing discovery motion

practice over the very source code that is to be cited in the infringement contentions.

        This is particularly true here as Omilia is fully on notice of Nuance’s supplemental

infringement contentions in response to Interrogatory No. 9 served on August 24, 2020. See, e.g.,

Abiomed, 2020 WL 3868803, at *4 (finding reasonable diligence where defendant on notice of

infringement theory and plaintiff did not formally move to amend its contentions until after three

months of learning of new product, and less than one month after Court’s ruling on prior pending

motion).

       Following Nuance’s review of Omilia’s October source code production, on December 3,

2020, Nuance informed Omilia of its intention to move for leave supplement, and asked whether


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Omilia intended to oppose the motion. Omilia requested additional time to consider the request.

Over the following week and up to the filing of this Motion, Nuance and Omilia discussed a

number of issues concerning the proposed amendments, but were unable to reach agreement.

Richey Decl., ¶ 1.

         Accordingly, Nuance’s actions show appropriate diligence and this factor weighs in favor

of granting leave.

         B.     Omilia Cannot Demonstrate Undue Prejudice Arising from the Amendments.

         Omilia cannot show it will be unduly prejudiced by Nuance’s proposed supplement.

Nuance’s amendments provide source code support and further annotations for its infringement

theories for the five asserted claims. When the additions are read in conjunction with the

Preliminary Infringement Contentions, it is clear that Nuance is providing infringement evidence

consistent with its infringement theories that were based on publicly available information and

have long been disclosed in Nuance’s Complaint, its December 2019 Preliminary Infringement

Contentions, and its July 2020 Responsive Contentions. Moreover, Omilia was on notice of

Nuance’s more specific infringement allegations incorporating Omilia’s piecemeal source code

production at least since Nuance served its response to Interrogatory No. 9 on August 24, 2020.

Nuance’s Supplemental Contentions are a reproduction of the August 24, 2020 charts with limited

additions based on information reviewed in October and November 2020, after Omilia produced

its source code repository and        .

         By way of example, Nuance’s Preliminary Infringement Contentions cite Omilia’s public

website that it has “adapted” its acoustic and language models to recognize accent and dialect

variations within a country and it trains its models on real-live call data to optimize its models.

See, e.g., Ex. 1 at A-1. Omilia advertises that its acoustic models can be trained in a matter of

months, indicating that it fine-tunes its models from already-existing models. See, e.g., Ex. 1 at A-

1–A-2.    Omilia markets its acoustic models under “deepASR” which is cited in Nuance’s

Preliminary Infringement Contentions. Ex. 1 at A-1, 18. The ’925 patent claims a method of



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adapting a second acoustic model from a first acoustic model. Claim 1 of the ’925 patent provides

the limitation of “based on said first acoustic model, generating a second acoustic model with a

second decision network and corresponding second phonetic contexts …” Nuance’s Supplemental

Contentions provide further, consistent, evidence of its infringement theories, citing to Omilia’s

                 that trains Omilia’s acoustic models. Id. at A-18. Additionally, upon review of

Omilia’s initially produced source code, and Omilia’s source code repository

                   , Nuance has identified several infringing ways in which Omilia generates a

second acoustic model from the first acoustic model, consistent with the claims. This information

could not have been known by Nuance at the time of its Preliminary Infringement Contentions

because these particular configurations can be seen only in Omilia’s source code. Further, claim

17 of the ’993 patent claims a computer-readable storage device for improving speech recognition

capable of creating a language model using a phonemic transcription dataset, and incorporating

pronunciation probabilities into the language model, among other limitations.             Nuance’s

Supplemental Contentions cite to source code of Omilia that is capable of creating such language

models based on different datasets and incorporating pronunciation probabilities as claimed. Ex.

1 at B-3–B-11.

       Moreover, it is clear from Omilia’s filing of a motion for summary judgement on each of

the asserted patents, its numerous non-infringement contentions, its discovery letters, other motion

practice, and its claim construction presentation on the ’925 patent, that Omilia understands and is

fully on notice of what Nuance has identified as infringing.

       Further, Omilia cannot legitimately claim any prejudice because it has been aware of

Nuance’s specific infringement contentions based on source code since at least as early as August

24, 2020, shortly after the Court’s claim construction order issued on August 6, 2020. As noted,

Omilia has raised no issues with the detail, disclosure, and completeness set forth in Nuance’s

Response to Interrogatory No. 9. Moreover, Nuance specifically informed Omilia that it would be

seeking to amend its infringement contentions once Omilia’s source code production was




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complete, and in the interim, referenced its Response to Interrogatory No. 9. Exh. 16 (Sept. 3,

2020 from C. Mammen to R. Gandesha).

       Additionally, Nuance’s Supplemental Infringement Contentions will be made available

well before the close of fact and expert discovery (March 30, 2021 and June 29, 2021,

respectfully); deadlines for dispositive motions (September 2021); and trial (April 2022). Dkt.

101. See Momenta Pharm., Inc. v. Amphastar Pharm., Inc., No. CV 11-11681-NMG, 2016 WL

3460309, at *2 (D. Mass. June 21, 2016) (amendment will not unduly prejudice defendant because

“1) it does not affect the fact discovery …, 2) no expert discovery has yet occurred and 3)

[defendant] will have the opportunity to address the amended infringement contentions at the

summary judgment stage.”); see also Linex Techs., 2013 WL 5955548, at *2 (no prejudice where

trial is set seven months out and no new products were added).

       The only information Nuance seeks to add via its Supplemental Contentions that is not

directly attributable to Omilia’s delayed production of source code is the incorporation of Nuance’s

Responsive Contentions served on July 7, 2020. These Responsive Contentions were served as a

matter of right under Local Rule 16.6 and Omilia has never sought to strike any of their contents.

This is not surprising, despite Omilia’s innuendo, as each of the points raised in Nuance’s

Responsive Contentions properly and directly address Omilia’s non-infringement and invalidity

arguments raised in Omilia’s Supplemental Contentions. Omilia had never argued in its initial

non-infringement contentions that it practiced certain claimed steps outside of the U.S. Nuance’s

Responsive Contentions explain why this is not a defense to infringement under § 271(g), and

incorporates this code section into its Responsive Contentions. Nuance’s Responsive Contentions

have been and are part of this case, were served as a matter of right under the Local Rules, and

Omilia has never moved to strike them. Thus, Nuance’s request to amend the cover pleading of its

Preliminary Infringement Contentions to incorporate its Responsive Pleadings adds nothing new

to the case and certainly do not prejudice Omilia in any way.

       Simply put, Nuance’s proposed amendments are not prejudicial to Omilia. Kajeet, 2019

WL 8060822, at *3. Nuance’s Supplemental Infringement Contentions “do[] not substantially


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change Plaintiff’s contentions, as Plaintiff has not requested a large addition of accused products,

a dramatically different or new infringement theory, or additional patents or claims.” See Realtime

Data, LLC v. Actian Corp., No. 6:15-CV-463 RWS-JDL, 2016 WL 9340797, at *3 (E.D. Tex.

Aug. 11, 2016) (granting leave to amend contentions where fact and expert discovery is ongoing).

Accordingly, this factor weighs in favor of amendment.

V.     CONCLUSION

       Nuance’s Supplemental Contentions incorporate by reference Nuance’s Responsive

Contentions and reproduce the August 24, 2020 claim charts served on Omilia, with additions

based on Nuance’s review of Omilia’s source code repository and                that was only made

available on October 7, 2020. There is no unreasonable delay or gamesmanship on Nuance’s part.

It is Omilia that has delayed in its source code production, and has dragged its feet on other

discovery.5 Moreover, the amendments will not cause undue prejudice to Omilia as discovery is

ongoing. Based on the foregoing, the facts and circumstances of this case support a finding of

good cause for leave to amend.

Date: December 11, 2020               Respectfully submitted,

                                      /s/ Christian E. Mammen
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  Omilia still has not completed production of its technical documentation. For example, Omilia
refuses to supplement interrogatory responses, and identify its acoustic models by version (which
is important in understanding which acoustic models were generated from previous acoustic
models). Additionally, Omilia only recently served over 300,000 documents on Nuance on Friday
November 27, 2020, which Nuance has not yet completely reviewed.


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                            LOCAL RULE 7.1 CERTIFICATION

       Plaintiff’s counsel hereby certifies under local rule 7.1 that Plaintiff’s counsel conferred

with counsel for Defendant regarding this motion, and following meet and confer, Omilia stated

its position as follows:

       Omilia opposes Nuance’s motion to supplement its infringement contentions to the

       extent Nuance seeks to include 35 U.S.C. § 271(g), which was not pleaded in

       Nuance’s June 28, 2019 Complaint or June 8, 2020 First Amended Complaint and

       has not been diligently pursued, and is, therefore, not appropriately in the case.

       Omilia is unable to take a position on the remainder of the substantial new

       arguments raised in Nuance’s proposed supplemental contentions and their

       departure from Nuance’s prior December 6, 2019 infringement contentions. As a

       result, Omilia reserved the right to oppose Nuance’s motion following the Court’s

       ruling on Omilia’s Motion for Reconsideration (Dkt. No. 202)



                                      /s/ Christian E. Mammen
                                      Christian E. Mammen




                                CERTIFICATE OF SERVICE

       I hereby certify that this document and its exhibits and attachments thereto will be filed

through the ECF system and will be sent electronically to the registered participants as identified

on the Notice of Electronic Filing (NEF) and paper copies will be sent to those indicated as non-

registered participants on December 11, 2020.

                                             /s/ Christian E. Mammen
                                             Christian E. Mammen




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